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                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA


NECHOL GARTRELL,                          Case No.:

                   Plaintiff,
                                          COMPLAINT AND
v.                                        DEMAND FOR JURY TRIAL

EQUIFAX INFORMATION
SERVICES, LLC,                                1. FCRA, 15 USC § 1681, et seq.

                   Defendant.


      Plaintiff Nechol Gartrell (“Plaintiff”), through counsel, alleges violations of

the Fair Credit Reporting Act (“FCRA”), 15 U.S.C. § 1681, et seq., against

Defendant Equifax Information Services, LLC (“Equifax” or “Defendant”).

                            I.    INTRODUCTION

      1.    Plaintiff’s Complaint arises from violations of the Fair Credit

Reporting Act (“FCRA”), 15 U.S.C. § 1681, et seq., by Defendant. Plaintiff

contends the Defendant failed to follow reasonable procedures to assure maximum

possible accuracy in the preparation of Plaintiff’s consumer reports, and

consequently reported inaccurate information about Plaintiff. “Consumer reports”

under 15 U.S.C. § 1681a(d) include both credit file disclosures obtained directly by



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Plaintiff from the consumer reporting agencies and consumer reports obtained by

third parties as a factor in establishing Plaintiff’s eligibility for credit.

                       II.    JURISDICTION AND VENUE

       2.     This Court has jurisdiction of this action pursuant to 28 U.S.C. § 1331

because Plaintiff alleges violations of the FCRA, a federal law. See 15 U.S.C. §

1681p (FCRA) (permitting actions to enforce liability in an appropriate United

States District Court).

       3.     Venue in the Northern District of Georgia is proper pursuant to 28

U.S.C. § 1391 because Defendant regularly transacts business within this District,

is otherwise subject to personal jurisdiction in this District, and a substantial part of

the events giving rise to Plaintiff’s claims occurred in this District.

                                    III.   PARTIES

       4.     Plaintiff incorporates herein by reference all the above paragraphs of

this Complaint as though fully set forth at length herein.

       5.     Plaintiff is a natural person who resides in Decatur, Georgia.

       6.     Plaintiff is a “consumer” as defined by the FCRA, 15 U.S.C. §

1681a(c).

       7.     Equifax is a “consumer reporting agency,” as defined in 15 U.S.C. §

1681a(f). Upon information and belief, Equifax is regularly engaged in the

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business of assembling, evaluating, and disbursing information concerning

consumers in the form of “consumer reports,” as defined in 15 U.S.C. § 1681a(d),

to third parties. Equifax’s principal place of business is located at 1550 Peachtree

Street NW, Atlanta, GA 30309. Equifax can be served through its registered agent,

Corporation Service Company, located at 2 Sun Court, Suite 400, Peachtree

Corners, Georgia 30092.

      8.     During all times pertinent to this Complaint, Defendant was

authorized to conduct business in the State of Georgia and conducted business in

the State of Georgia on a routine and systematic basis.

      9.     Defendant regularly engages in the business of assembling,

evaluating, and disbursing information concerning consumers for the purpose of

furnishing “consumer reports,” as defined in 15 U.S.C. § 1681a(d), to third parties.

Defendant regularly furnishes consumer reports to third parties for monetary

compensation, fees, and other dues, using means and facilities of interstate

commerce, and is therefore a “consumer reporting agency” (“CRA”) as defined by

15 U.S.C. § 1681a(f) of the FCRA.

      10.    During all times pertinent to this Complaint, Defendant acted through

authorized agents, employees, officers, members, directors, heirs, successors,

assigns, principals, trustees, sureties, subrogees, representatives, and/or insurers.

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      11.    Any violations by Defendant were not in good faith, were knowing,

negligent, willful, and/or intentional, and Defendant did not maintain procedures

reasonably adapted to avoid any such violation.

                       IV.    FACTUAL BACKGROUND

      12.    Plaintiff incorporates herein by reference all the above paragraphs of

this Complaint as though fully set forth at length herein.

      13.    The United States Congress has found that the banking system is

dependent upon fair and accurate credit reporting. Inaccurate consumer reports

directly impair the efficiency of the banking system, and unfair credit reporting

methods undermine the public confidence, which is essential to the continual

functioning of the banking system.

      14.    Congress enacted the FCRA to ensure fair and accurate reporting,

promote efficiency in the banking system, and protect consumer privacy.

      15.    The FCRA is intended to ensure CRAs exercise their grave

responsibilities with fairness, impartiality, and a respect for the consumer’s right to

privacy because CRAs have assumed such a vital role in assembling and

evaluating consumer credit and other consumer information.

      16.    Defendant, one of the three major consumer reporting agencies (at

times referred to collectively as “the CRAs,” and individually as a “CRA”) in the

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United States, regularly publishes and distributes credit information about Plaintiff

and other consumers through the sale of consumer reports (i.e., credit reports).

      17.      Defendant’s consumer reports generally contain the following

information: (i) Header/Identifying Information: this section generally includes the

consumer’s name, current and prior addresses, date of birth, and phone numbers;

(ii) Tradeline Information: this section pertains to consumer credit history, and

includes the type of credit account, credit limit or loan amount, account balance,

payment history, and status; (iii) Public Record Information: this section typically

includes public record information, such as bankruptcy filings; and (iv) Credit

Inquiries: this section lists every entity that has accessed the consumer’s file

through a “hard inquiry” (i.e., consumer-initiated activities, such as applications

for credit cards, to rent an apartment, to open a deposit account, or for other

services) or “soft inquiry” (i.e., user-initiated inquiries like prescreening).

      18.      Defendant obtains consumer information from various sources. Some

consumer information is sent directly to Defendant, and other information must be

independently gathered by Defendant, or acquired from third party providers,

vendors or repositories, such as computerized reporting services like PACER or

Lexis-Nexis.




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      19.    Defendant also obtains information from other CRAs (who commonly

share information).

      20.    Defendant regularly seeks out and procures consumer bankruptcy

filing and discharge information on a daily basis, with the intention of including it

in the consumer reports Defendant sells to third parties for a profit.

      21.    The diligence Defendant exercises in uncovering and recording

consumer bankruptcy filings is not replicated in Defendant’s subsequent reporting

of bankruptcy discharges and their effect on consumers’ debts.

      22.    Defendant’s unreasonable policies, procedures, and/or algorithms

consistently fail to identify and update pre-bankruptcy debts as required by §

1681e(b).

      23.    Defendant knows the information it reports about consumers’

bankruptcies is often inconsistent with public records, furnished/reported

information, and/or information contained in its own files.

      24.    The vast majority of institutions that offer financial services (e.g.,

banks, creditors, lenders) rely upon consumer reports from CRAs (like Defendant)

to make lending decisions.

      25.    The information Defendant includes in a consumer report contributes

to a consumer’s overall creditworthiness and determines his or her FICO Scores.

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      26.     FICO Scores are calculated using information contained in

Defendant’s consumer reports.

      27.     FICO and other third-party algorithms use variables or “attributes”

derived from a consumer’s consumer report to calculate a “credit score,” which is a

direct reflection of the consumer’s creditworthiness.

      28.     FICO Scores factor the following consumer report information:

Payment history (35%); Amount of debt (30%); Length of credit history (15%);

New credit (10%); and Credit mix (10%).

            a. “Payment history” refers to whether a consumer has paid his or her

              bills in the past, and whether these payments have been timely, late, or

              missed. In factoring the severity of delinquent payments, a FICO

              Score considers how late the payment continues to be, how much is

              owed, how recently the delinquency occurred, and how many

              delinquent accounts exist. The more severe, recent, and frequent late

              payments are, the lower the consumer’s FICO Score will be.

            b. The “amount of debt” a consumer owes has a major impact on his or

              her credit score. When a CRA reports a debt as outstanding when it is

              in fact discharged, the CRA is indicating that the consumer’s “amount




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              of debt” is higher than it actually is, which will undoubtedly impact

              the consumer’s credit score.

       29.    Lenders also consider a consumer’s debt-to-income ratio (“DTI”)

based on the total amount of debt reported by Defendant in consumer reports.

       30.    DTI compares the total amount a consumer owes to the total amount a

consumer earns.

       31.    Defendant regularly provides information that allows lenders to

calculate the “total amount of debt” a consumer owes based on the total debt

reported by Defendant.

       32.    A consumer’s income, however, is not included in his or her

consumer report; only his or her amount of debt is.

       33.    The higher the amount of reported debt that a consumer has, or

appears to have, the worse the consumer’s DTI will be, and the more difficult it

will be for the consumers to obtain credit, and the worse the credit terms will be

(e.g., higher interest, lower credit limits).

       34.    A consumer who has obtained a bankruptcy discharge and has a

consumer report that is reporting outstanding or past due balances after the

bankruptcy discharge suffers greater harm than if that account were accurately

reporting as having a zero balance.

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      35.      Defendant is well aware that the effect of a Discharge Order in a

Chapter 7 Bankruptcy is that all statutorily dischargeable debts, other than those

that have been reaffirmed or successfully challenged in an adversary proceeding,

are discharged.

      36.      However, Defendant also knows that it is rare for a pre-petition debt

to be reaffirmed or successfully challenged in an adversary proceeding.

      37.      Further, Defendant knows that if reaffirmation agreements or

adversary proceedings exist, they will be explicitly identified on an individual

consumer’s bankruptcy docket sheet.

      38.      Additionally, information indicating that a specific debt has not been

discharged, but instead was reaffirmed or successfully challenged through an

adversary proceeding, is retrieved from the same sources from which Defendant

voluntarily obtained consumer bankruptcy case information.

      39.      Defendant also receives information about account reaffirmations or

other discharge exceptions directly from furnishers of account/tradeline

information.

      40.      However, Defendant regularly reports inaccurate information about

consumers’ debts after they receive a Discharge Order.




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      41.      Rather than follow reasonable procedures to assure maximum possible

accuracy, as is required by the FCRA, Defendant frequently reports information

regarding pre-bankruptcy debts based on incomplete or knowingly inaccurate

information.

      42.      Defendant regularly publishes consumer information that conflicts

with the information provided by data furnishers, included in Defendant’s credit

files, contained in public records that Defendant regularly accesses, and/or sourced

through Defendant’s independent and voluntary efforts.

      43.      Consumers have filed thousands of lawsuits and FTC and Consumer

Financial Protection Bureau complaints against Defendant for its inaccurate

consumer reporting following a Chapter 7 discharge, including failure to report the

discharge.

      44.      Therefore, Defendant is on continued notice of its inadequate post-

bankruptcy reporting procedures, which often produce inaccurate public record

information, balances, and account and payment statuses.

                 Allegations Specific to the Credit Reporting of Plaintiff

      45.      Plaintiff filed for a “no asset” Chapter 7 Bankruptcy on or about April

13, 2022, in the United States Bankruptcy Court for the Northern District of

Georgia, petition no. 22-52886-lrc.

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      46.       Plaintiff received an Order of Discharge on or about July 25, 2022.

      47.       Thereafter, Plaintiff was not personally liable for her dischargeable

debts and these debts have a $0 balance after the bankruptcy discharge.

      48.       Defendant prepared one or more consumer reports concerning

Plaintiff after she was discharged from Chapter 7 Bankruptcy.

      49.       The allegations in this complaint against Defendant are based on the

reporting by Defendant in Plaintiff’s April 20, 2023, consumer disclosure obtained

by Plaintiff.

      50.       Defendant reported Plaintiff’s credit history, including names of credit

accounts, account numbers, account types, responsibility for the account (i.e.,

individual or joint accounts), the dates the accounts were opened, statuses, and the

dates of the last status update.

      51.       Defendant    failed   to   report   Plaintiff’s   consumer   bankruptcy

information in the Public Records section or in any individual tradelines of

Plaintiff’s consumer reports.

      52.       Notably, the other CRAs, Experian and Trans Union, accurately

reported Plaintiff’s bankruptcy information in the Public Records sections of their

respective reports, and in the individual tradelines of their respective reports.




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      53.    Upon information and belief, Defendant received notice of Plaintiff’s

bankruptcy discharge through its independent collection of Plaintiff’s consumer

information through vendors such as Lexis-Nexis, as well as from furnishers that

provided data regarding the individual tradelines featured on Plaintiff’s consumer

reports.

      54.    Defendant also obtains information from other CRAs (who commonly

share information).

      55.    Defendant is aware that CRAs are generally required to report

accounts included in a consumer’s Chapter 7 bankruptcy with a status of

“discharged through bankruptcy,” and/or with a zero balance, unless a furnisher

provides information showing that a specific debt was excluded from the

discharge.

      56.    Defendant should have reported Plaintiff’s bankruptcy filing and

discharge information in the public records section of Plaintiff’s consumer reports.

      57.    Defendant should have reported all of Plaintiff’s dischargeable, pre-

petition debts as included in or discharged in Chapter 7 Bankruptcy, and/or with a

zero balance, but did not.

      58.    Defendant should not have reported any late payment history in the

months after Plaintiff filed for bankruptcy.

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      59.      Defendant also should not have reported any “charge offs” after the

bankruptcy discharge.

      60.      Rather than accurately report the discharged debts, Defendant

reported Plaintiff’s accounts with numerous inaccuracies.

               Inaccuracies on Plaintiff’s April 20, 2023 Consumer Report

      61.      As a preliminary matter, Defendant did not indicate that Plaintiff had

filed for bankruptcy and received a discharge.

      62.      The name, social security number, and address in Plaintiff’s Chapter 7

petition match the information listed on her Equifax consumer report.

      63.      Defendant failed to report Plaintiff’s bankruptcy discharge even

though Defendant had all the correct personal information for Plaintiff in its

database which matched the personal information reported in Plaintiff’s Chapter 7

petition (e.g., full name, social security number, address).

      64.      Notably, non-parties Experian and Trans Union accurately reported

Plaintiff’s public record bankruptcy filing and discharge based on the same

information.

      65.      Additionally, upon information and belief, furnishers reported the

Plaintiff’s discharged/zero account balances, bankruptcy and discharge information

to Defendant.

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      66.     Defendant knew or should have known that Plaintiff’s bankruptcy was

discharged.

      67.     Defendant reported debts that were in fact discharged in bankruptcy

and were therefore required to report these as discharged and/or with a zero

balance. However, Defendant’s failure to report Plaintiff’s bankruptcy, filed in

April 2022 and discharged in July 2022, in Plaintiff’s consumer report contributed

to the numerous inaccuracies listed in Plaintiff’s consumer report.

      68.     Upon information and belief, the following furnishers of information,

among others, accurately reported to Defendant that Plaintiff’s accounts were

included in Plaintiff’s bankruptcy discharge and/or had a zero balance after the

bankruptcy filing/discharge, but Defendant rejected or revoked the data furnished

to it and inaccurately overrode the reporting of the accounts.

      69.     Consequently,   on   Plaintiff’s   consumer    disclosure,   Defendant

inaccurately reported several of Plaintiff’s discharged accounts with inaccurate

statuses, outstanding balances and/or inaccurate payment histories.

      70.     For example, on Plaintiff’s consumer disclosure, Defendant

inaccurately reported Plaintiff’s discharged TBOM account, ending with

************5827 and opened in May 2018, with a status of “Charge-Off” and




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with a notation that the “Charge Off Amount” was $565, when the account was

discharged in bankruptcy and actually has a zero-dollar balance.

      71.    As another example, Defendant also inaccurately reported Plaintiff’s

discharged Upgrade, Inc. account, ending with ****5425 and opened in August

2021, with a status of “Charge-Off” and with a notation that the “Charge Off

Amount” was $3,005, when the account was discharged in bankruptcy and actually

has a zero-dollar balance.

      72.    As another example, Defendant also inaccurately reported Plaintiff’s

discharged United Auto Credit account, ending with ************0002 and

opened in February 2018, with a status of “Charge-Off” and with an outstanding

balance of $278, when the account was discharged in bankruptcy and actually has

a zero-dollar balance.

      73.    The status of “Charge-Off” in the consumer credit reporting industry

means that a debt may still be owed, especially where, as here, the tradelines do

not include bankruptcy coding such as included in and/or discharged in

bankruptcy, or the tradeline indicates there is a balance and/or past due balance

owed on the account before or after the “charge-off.”




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       74.    The national consumer reporting agencies specifically acknowledge

that a “charge-off” generally means consumers are still legally responsible for

paying the debt.

       75.    According to Equifax, a charge-off means the lender has written the

account off as a loss and the account is closed to future charges. The timeframe is

generally between 120 and 180 days after a consumer becomes delinquent, and a

charge-off does not mean that the consumer no longer owes the debt; the consumer

is still legally obligated to pay the debt.

       76.    In addition to the above-referenced accounts, the tradelines for Road

Auto Finance, LLC (Account No. ***01), Georgia’s Own Credit Union (Account

No. ********84), World Finance Co (Account No. ****01) and The Bank of

Missouri – Milestone (Account No. **************6576) each indicated an

“UNAVAILABLE” account status. In total, Defendant reported seven (7) of

Plaintiff’s accounts inaccurately (collectively, the “Accounts”) by failing to

indicate that the Accounts were included/discharged in Chapter 7 Bankruptcy, and

instead reported the Accounts with inaccurate statuses.

       77.    Upon information and belief, Lexis-Nexis furnished information to all

three CRAs, including Defendant, that indicated Plaintiff had filed for bankruptcy




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and received a discharge, but Defendant rejected or otherwise failed to report the

data it received.

      78.    Upon information and belief, some or all of the data furnishers of the

foregoing tradelines provided information to all three CRAs, including Defendant,

that indicated their corresponding accounts had been discharged in bankruptcy, but

Defendant rejected or otherwise overrode the data it received.

      79.    In addition, public records reflecting Plaintiff’s bankruptcy filing and

subsequent discharge are readily available to Defendant through multiple sources

such as PACER, but Defendant failed to review those sources or knowingly

rejected them.

      80.    In any event, Defendant knew or had reason to know that it reported

information contradicted by notices received from third parties.

      81.    Defendant failed to indicate that any of the Accounts had a zero-dollar

balance and/or were discharged in Chapter 7 Bankruptcy.

      82.    Defendant also erroneously reported that three of the Accounts were

charged off after the discharge and/or carried outstanding balances.

      83.    Notably, Experian and Trans Union, the two other national CRAs,

reported Plaintiff’s accounts accurately on consumer reports produced after

Plaintiff’s discharge.

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      84.    Defendant’s reporting of the Accounts is patently inaccurate.

      85.    If not patently inaccurate, Defendant’s reporting of the Accounts is

materially misleading.

                                  Plaintiff’s Damages

      86.    After her discharge, Plaintiff applied for credit cards with several

entities, including Exxon Mobil and World Finance, and was denied for each due

to the erroneous reporting by Defendant.

      87.    Plaintiff also applied for a Capital One credit card and was approved

at less favorable terms and a lower credit limit than Plaintiff would have obtained

had Defendant reported accurately.

      88.    Defendant’s inaccurate reporting was published to various potential

creditors by Defendant during the process of Plaintiff’s credit applications.

      89.    Plaintiff’s consumer credit file and consumer reports were also

reviewed by numerous other entities after the discharge of her bankruptcy; those

entities viewed the erroneous information published by Defendant.

      90.    As a direct result of Defendant’s inaccurate reporting, Plaintiff suffers

damages, including a decreased credit score, lower overall creditworthiness, and

other financial harm.




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      91.    Defendant’s inaccurate reporting is especially damaging to Plaintiff,

who has worked hard to repair her credit in order to become a first-time

homeowner. However, Plaintiff has been chilled from applying for mortgages due

to Defendant’s inaccurate reporting.

      92.    As a direct result of Defendant’s inaccurate reporting, Plaintiff also

suffers actual damages in the form of attorneys’ fees incurred.

      93.    Additionally, Plaintiff suffers interference with daily activities, as well

as emotional distress, including, without limitation, emotional and mental anguish,

loss of sleep, reputational damage, humiliation, stress, anger, frustration, shock,

embarrassment, and anxiety.

                                V.     COUNT I
                     Violations of the FCRA, 15 U.S.C. § 1681e(b)

      94.    Plaintiff incorporates herein by reference all the above paragraphs of

this Complaint as though fully set forth herein at length.

      95.    The FCRA requires CRAs, like Defendant, to maintain and follow

reasonable procedures to assure maximum possible accuracy of consumer

information. 15 U.S.C. § 1681e(b).

      96.    Defendant negligently and/or willfully violated 15 U.S.C. § 1681e(b)

by failing to use reasonable procedures to assure maximum possible accuracy of


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credit information pertaining to pre-bankruptcy debts after a consumer receives a

Discharge Order.

      97.     Defendant received notice of Plaintiff’s bankruptcy and discharge

through public records, independent collection of consumer information directly

obtained by Defendant through sources of consumer information such as Lexis

Nexis, Defendant’s own files, and information provided by data furnishers, yet

Defendant rejected that information.

      98.     Defendant’s unreasonable policies and procedures cause it to routinely

report inaccurate and materially misleading information about consumers,

including Plaintiff, who have been discharged from Chapter 7 Bankruptcy.

      99.     Defendant’s unreasonable policies and procedures cause it to regularly

report consumer information without verifying its accuracy.

      100. Defendant’s unreasonable policies, procedures and/or algorithms

consistently fail to identify and update pre-bankruptcy debts as required by §

1681e(b).

      101. Defendant knows the information it reports about consumers’

bankruptcies is often inconsistent with public records and its own files, including

other furnishers that report to Defendant that the consumer’s bankruptcy has been

discharged.

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      102. In this case, the inaccurately reported debts pertain to accounts

Defendant knew pre-dated Plaintiff’s Chapter 7 Bankruptcy and were included and

discharged by Plaintiff’s bankruptcy discharge.

      103. Defendant’s failure to maintain and employ reasonable procedures to

assure the maximum accuracy of consumers’ post-bankruptcy accounts is

particularly egregious because the Defendant regularly and voluntarily searches for

consumer bankruptcy information to include in credit files.

      104. Defendant knew or should have known it is obligated, by the FCRA,

to maintain and employ reasonable procedures to assure it reports maximally

accurate consumer credit information.

      105. Defendant knew or should have known it is obligated, by the FCRA,

to update consumer reports and individual tradelines after receiving notice of a

Chapter 7 Bankruptcy Discharge.

      106. Defendant knew or should have known that the effect of a Discharge

Order in a no-asset Chapter 7 Bankruptcy is to discharge all statutorily

dischargeable debts other than those that have been reaffirmed in a reaffirmation

agreement or successfully challenged in an adversary proceeding.




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       107. CRAs’ obligations are established by the plain language of the FCRA,

promulgated by the Federal Trade Commission, supported by well-established case

law, and demonstrated in prior cases involving the Defendant.

       108. Therefore, Defendant had ample notice of its obligations under the

FCRA and its continued use of unreasonable procedures.

       109. If Defendant contends it did not have sufficient notice, Defendant

must justify its own failure to review and/or locate the substantial written materials

that detail CRAs’ duties and obligations under the FCRA, including where

consumers file for Chapter 7 Bankruptcy.

       110. Defendant regularly conducts voluntary public records searches with

the intention of including bankruptcy information on the consumer reports it sells

to other parties for a profit.

       111. In this case, Defendant knew or should have known about Plaintiff’s

bankruptcy filing and discharge and failed to include that information in Plaintiff’s

consumer disclosure and in consumer reports published to third parties.

       112. When       Defendant   received    notice   of   Plaintiff’s   bankruptcy

information, it had an obligation to ensure it reported Plaintiff’s discharge and its

effects with maximal accuracy.




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      113. Unfortunately, Defendant willfully and consciously breached its

duties as a CRA and deprived Plaintiff of her right to a fair and accurate consumer

report.

      114. Despite knowledge of its legal obligations, Defendant violated 15

U.S.C. § 1681e(b) by failing to use reasonable procedures to ensure maximum

possible accuracy of Plaintiff’s consumer disclosure/consumer report.

      115. Defendant knows that discharged debts should not be reported as late,

past due, or with outstanding balances after the discharge date.

      116. Yet, in this case, Defendant reported numerous accounts that pre-

dated Plaintiff’s bankruptcy with an improper account status and/or erroneous late

payment history after Plaintiff’s discharge.

      117. Defendant knew or should have known the information it reported

about Plaintiff’s accounts was inaccurate.

      118. Defendant violated 15 U.S.C. § 1681e(b) by failing to report accurate

information when Defendant knew or should have known the information

Defendant is reporting is inaccurate, and/or otherwise contradicted by information

known by Defendant, reported to Defendant, and/or reasonably available to

Defendant.

      119. Defendant’s violations of 15 U.S.C. § 1681e(b) were willful.

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      120. Alternatively, Defendant’s violations of 15 U.S.C. § 1681e(b) were

negligent.

      121. Defendant’s         inaccurate        reporting   damaged       Plaintiff’s

creditworthiness.

      122. Plaintiff suffers actual damages, including the above-referenced

economic damages, a decreased credit score, loss of credit opportunities, and other

financial harm caused by Defendant inaccurately reporting balances for debts that

were discharged in bankruptcy, and otherwise failing to report that the debts were

discharged in bankruptcy.

      123. Plaintiff also suffers interference with daily activities caused by other

harm including, but not limited to, emotional distress, mental anguish, humiliation,

loss of sleep, stress, anger, frustration, shock, embarrassment, and anxiety.

      124. Defendant is a direct and proximate cause of Plaintiff’s damages.

      125. Defendant is a substantial factor in Plaintiff’s damages.

      126. Therefore, Defendant is liable for actual and statutory damages,

punitive damages, attorneys’ fees, and costs, as well as other such relief permitted

by 15 U.S.C. § 1681, et seq.




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                         VI.    PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests that this Honorable Court

enter judgment against Defendant for the following:

      (a)   Declaratory judgment that Defendant violated the FCRA, 15 U.S.C. §

            1681e(b);

      (b)   An award of actual damages pursuant to 15 U.S.C. §§ 1681n(a)(1) or

            1681o(a)(1);

      (c)   An award of statutory damages pursuant to 15 U.S.C. §§ 1681n(a)(1)

            and 1681o(a)(1);

      (d)   An award of punitive damages, as allowed by the Court pursuant to 15

            U.S.C. § 1681n(a)(2);

      (e)   An award of costs and reasonable attorneys’ fees pursuant to 15

            U.S.C. § 1681n(a)(3) and § 1681o(a)(2); and

      (f)   Such other and further relief as this Honorable Court may deem just

            and proper, including any applicable pre-judgment and post-judgment

            interest, and/or declaratory relief.

                               VII. JURY DEMAND

      Plaintiff hereby demands a jury trial on all issues so triable.

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RESPECTFULLY SUBMITTED this 24th day of July 2023.

                             By: /s/ Jenna Dakroub
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